            Case 19-30044 UNITED
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                                                     COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


In Re: Giovani Abel Murillo                                           Case No: 19-30044-H5-13
       Debtor(s)                                                      Chapter 13




         NOTICE OF HEARING REGARDING (1) CONFIRMATION OF PROPOSED
        CHAPTER 13 PLAN, (2) VALUATION OF COLLATERAL; (3) DISMISSAL OF
     CHAPTER 13 BANKRUPTCY CASE, (4) CONVERSION OF CHAPTER 13 CASE, AND
       (5) ENTRY OF OTHER ORDERS CONCERNING ADMINISTRATION OF CASE




    The United States Bankruptcy Court will conduct a hearing on whether (1) to confirm the
debtor(s)’ proposed bankruptcy plan, (2) dismiss this case, (3) convert this case to a case under
Chapter 7, and/or (4) to enter other orders concerning the administration of this case. The Court will
also consider valuation of security pursuant to F ED. R. BANKR. P. 3012. The hearing will take place at
9:30 am on March 25, 2019 at 515 Rusk Ave, Houston, TX 77002, on the 4th Floor of the U.S.
Courthouse, in Courtroom 403.

    Attached to this notice is a copy of the statistical cover sheet submitted by the debtor(s) with their
proposed plan. This cover sheet serves as a summary of the plan. A complete copy of the proposed
plan is available from clerk of the Court or the debtor(s) attorney. The Court may consider the current
plan or a modified plan at the confirmation hearing.

    If you object to confirmation of the plan, you must file your objection at least five days before the
confirmation hearing and serve a copy of the objection on the debtor, the debtor(s)’ counsel, the
Chapter 13 trustee, and parties requesting notice.

    If the plan is not confirmed, the Court may consider whether to dismiss this Chapter 13 case due to
unreasonable delay that is prejudicial to creditors. The Court may also consider whether the case
should be converted to a case under Chapter 7 of the Bankruptcy Code.

     The Court may also consider whether to enter other orders that are appropriate for administration
of this case.

                                                                   /s/ William E. Heitkamp
                                                                   William E. Heitkamp, Trustee
                                                                   Admissions I.D. No. 3857
                                                                   9821 Katy Freeway, Suite 590
                                                                   Houston, Texas 77024
                                                                   (713) 722-1200
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      The Debtor(s)’
  “Plan and Statistical
Cover Sheet to Proposed
           Plan”
is not attached because it
 was not on file with the
    Bankruptcy Court.
    Please contact the
Debtor(s)’ Attorney for
    more information.
